Lawrence J. Warfield
P.O. Box 14647
Scottsdale, AZ 85267

                                          UNITED STATES BANKRUPTCY COURT
                                                DISTRICT OF ARIZONA


In re:                                                                 §      Case No. 0:10-BK-24374-EPB
                                                                       §
GREGG SETH REICHMAN                                                    §
                                                                       §
                                                                       §
                            Debtor                                     §

                                               TRUSTEE’S FINAL REPORT (TFR)

The undersigned trustee hereby makes this Final Report and states as follows:

     1. A petition under chapter 7 of the United States Bankruptcy Code was filed on 08/03/2010. The
        undersigned trustee was appointed on 08/03/2010.

     2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. § 704.

     3. All scheduled and known assets of the estate have been reduced to cash, released to the debtor
        as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned pursuant to
        11 U.S.C. § 554. An individual estate property record and report showing the disposition of all
        property of the estate is attached as Exhibit A.

      4.         The trustee realized gross receipts of                                                                              $2,745.59

                          Funds were disbursed in the following amounts:

                          Payments made under an interim distribution                                                                    $0.00
                          Administrative expenses                                                                                        $0.00
                          Bank service fees                                                                                             $33.22
                          Other Payments to creditors                                                                                    $0.00
                          Non-estate funds paid to 3rd Parties                                                                       $1,127.67
                          Exemptions paid to the debtor                                                                                  $0.00
                          Other payments to the debtor                                                                                   $0.00

                          Leaving a balance on hand of1                                                                              $1,584.70

           The remaining funds are available for distribution.


1
  The balance on funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursements will be distributed
pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the maximum compensation set forth
under 11 U.S.C. § 326(a) on account of the disbursement of the additional interest.

UST Form 101-7-TFR (5/1/2011)

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     5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank account.

     6. The deadline for filing non-governmental claims in this case was 01/03/2011 and the deadline
        for filing government claims was 01/03/2011. All claims of each class which will receive a
        distribution have been examined and any objections to the allowance of claims have been
        resolved. If applicable, a claims analysis, explaining why payment on any claim is not being
        made, is attached as Exhibit C.

     7. The Trustee’s proposed distribution is attached as Exhibit D.

     8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is $404.48.
        To the extent that additional interest is earned before case closing, the maximum compensation
        may increase.

        The trustee has received $0.00 as interim compensation and now requests the sum of $123.41,
for a total compensation of $123.412. In addition, the trustee received reimbursement for reasonable
and necessary expenses in the amount of $0.00, and now requests reimbursement for expenses of
$79.15, for total expenses of $79.15.

        Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing
report is true and correct.

Date: 03/21/2013                                                         By:       /s/ Lawrence J. Warfield
                                                                                   Trustee

STATEMENT: This Uniform form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.




2
 If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the Trustee’s Proposed
Distribution (Exhibit D).

UST Form 101-7-TFR (5/1/2011)

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                                                                                       FORM 1
                                                                   INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                     Page No:    1                     Exhibit A
                                                                                    ASSET CASES

Case No.:                      10-24374-YUM EPB                                                                                                   Trustee Name:                             Lawrence J. Warfield
Case Name:                     REICHMAN, GREGG SETH                                                                                               Date Filed (f) or Converted (c):          08/03/2010 (f)
For the Period Ending:         3/22/2013                                                                                                          §341(a) Meeting Date:                     09/21/2010
                                                                                                                                                  Claims Bar Date:                          01/03/2011

                                   1                                   2                                3                                 4                        5                                       6

                           Asset Description                         Petition/                   Estimated Net Value                   Property              Sales/Funds              Asset Fully Administered (FA)/
                            (Scheduled and                         Unscheduled                  (Value Determined by                 Abandoned               Received by             Gross Value of Remaining Assets
                       Unscheduled (u) Property)                      Value                            Trustee,                  OA =§ 554(a) abandon.        the Estate
                                                                                               Less Liens, Exemptions,
                                                                                                  and Other Costs)

 Ref. #
1       3085 GATEWOOD DRIVE LAKE HAVASU                               $367,338.00                                        $0.00                                          $0.00                                          FA
        CITY, AZ 86404
2       U.S. BANK                                                           $100.00                                      $0.00                                          $0.00                                          FA
3          VARIOUS HOUSEHOLD FURNITURE; 2                                  $1,500.00                                     $0.00                                          $0.00                                          FA
           FLAT PANEL TV'S; ON
4          VARIOUS CLOTHING                                                 $150.00                                      $0.00                                          $0.00                                          FA
5          WEIGHTS                                                          $200.00                                      $0.00                                          $0.00                                          FA
6          ACTIVE FINANCE GROUP LLC (INTEREST                                 $0.00                                      $0.00                                          $0.00                                          FA
           - 41%)
7          GSG PROPERTIES, LLC (INTEREST -                                    $0.00                                      $0.00                                          $0.00                                          FA
           25.05%)
8          TDJ, LLC (INTEREST - 90%)                                          $0.00                                      $0.00                                          $0.00                                          FA
9          ACTIVE FUNDING GROUP, LLC                                          $0.00                                      $0.00                                          $0.00                                          FA
           (INTEREST - 42.5%)
10         2007 DODGE TRUCK                                            $26,425.00                                        $0.00                                          $0.00                                          FA
11         BOAT - 1999 32 FT. DOUGLAS MARINE                           $90,000.00                                        $0.00                                          $0.00                                          FA
12         2010 FEDERAL TAX REFUND                           (u)              $0.00                               $2,744.00                                        $2,744.00                                           FA
INT        Interest Earned                                                 Unknown                                Unknown                                               $1.59                                          FA


TOTALS (Excluding unknown value)                                                                                                                                                         Gross Value of Remaining Assets
                                                                       $485,713.00                                $2,744.00                                         $2,745.59                                      $0.00




    Initial Projected Date Of Final Report (TFR):   10/12/2011                         Current Projected Date Of Final Report (TFR):          03/22/2013               /s/ LAWRENCE J. WARFIELD
                                                                                                                                                                       LAWRENCE J. WARFIELD
                                           Case 0:10-bk-24374-EPB             Doc 47           Filed 05/28/13               Entered 05/28/13 15:34:40                   Desc
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                                                                                                                                                                   Page No: 1                 Exhibit B
                                                                                          FORM 2
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         10-24374-YUM EPB                                                                               Trustee Name:                         Lawrence J. Warfield
 Case Name:                       REICHMAN, GREGG SETH                                                                           Bank Name:                            Bank of Texas
Primary Taxpayer ID #:            ******7716                                                                                     Checking Acct #:                      ******9947
Co-Debtor Taxpayer ID #:                                                                                                         Account Title:                        DDA
For Period Beginning:             8/3/2010                                                                                       Blanket bond (per case limit):        $82,080,307.00
For Period Ending:                3/22/2013                                                                                      Separate bond (if applicable):

       1                2                                3                                       4                                                       5                 6                      7

   Transaction       Check /                         Paid to/            Description of Transaction                               Uniform           Deposit          Disbursement              Balance
      Date            Ref. #                      Received From                                                                  Tran Code            $                   $


06/12/2012                     M&I Bank                           Transfer Funds                                                  9999-000             $2,745.59                                      $2,745.59
07/16/2012                     Bank of Texas                      Account Analysis Fee                                            2600-000                                         $2.71           $2,742.88
08/14/2012                     Bank of Texas                      Account Analysis Fee                                            2600-000                                         $4.42           $2,738.46
09/17/2012                     Bank of Texas                      Account Analysis Fee                                            2600-000                                         $4.41           $2,734.05
10/15/2012                     Bank of Texas                      Account Analysis Fee                                            2600-000                                         $4.26           $2,729.79
11/15/2012                     Bank of Texas                      Account Analysis Fee                                            2600-000                                         $4.40           $2,725.39
12/14/2012                     Bank of Texas                      Account Analysis Fee                                            2600-000                                         $4.25           $2,721.14
01/16/2013                     Bank of Texas                      Account Analysis Fee                                            2600-000                                         $4.38           $2,716.76
02/14/2013                     Bank of Texas                      Account Analysis Fee                                            2600-000                                         $4.39           $2,712.37
02/18/2013           5001      GREGG SETH REICHMAN                Return of Debtors Pro Rata                                      8500-002                                     $1,127.67           $1,584.70

                                                                                    TOTALS:                                                            $2,745.59               $1,160.89           $1,584.70
                                                                                        Less: Bank transfers/CDs                                       $2,745.59                   $0.00
                                                                                    Subtotal                                                               $0.00               $1,160.89
                                                                                        Less: Payments to debtors                                          $0.00                   $0.00
                                                                                    Net                                                                    $0.00               $1,160.89



                     For the period of 8/3/2010 to 3/22/2013                                                  For the entire history of the account between 06/12/2012 to 3/22/2013

                     Total Compensable Receipts:                        $0.00                                 Total Compensable Receipts:                                     $0.00
                     Total Non-Compensable Receipts:                    $0.00                                 Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                      $0.00                                 Total Comp/Non Comp Receipts:                                   $0.00
                     Total Internal/Transfer Receipts:              $2,745.59                                 Total Internal/Transfer Receipts:                           $2,745.59


                     Total Compensable Disbursements:                  $33.22                                 Total Compensable Disbursements:                               $33.22
                     Total Non-Compensable Disbursements:           $1,127.67                                 Total Non-Compensable Disbursements:                        $1,127.67
                     Total Comp/Non Comp Disbursements:             $1,160.89                                 Total Comp/Non Comp Disbursements:                          $1,160.89
                     Total Internal/Transfer Disbursements:             $0.00                                 Total Internal/Transfer Disbursements:                          $0.00




                                          Case 0:10-bk-24374-EPB       Doc 47         Filed 05/28/13           Entered 05/28/13 15:34:40                      Desc
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                                                                                          FORM 2
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         10-24374-YUM EPB                                                                               Trustee Name:                           Lawrence J. Warfield
 Case Name:                       REICHMAN, GREGG SETH                                                                           Bank Name:                              M&I Bank
Primary Taxpayer ID #:            ******7716                                                                                     Money Market Acct #:                   ******9881
Co-Debtor Taxpayer ID #:                                                                                                         Account Title:                         Money Market Account
For Period Beginning:             8/3/2010                                                                                       Blanket bond (per case limit):          $82,080,307.00
For Period Ending:                3/22/2013                                                                                      Separate bond (if applicable):

       1                2                                3                                        4                                                      5                  6                       7

   Transaction       Check /                         Paid to/            Description of Transaction                               Uniform           Deposit            Disbursement              Balance
      Date            Ref. #                      Received From                                                                  Tran Code            $                     $


11/10/2011            (12)     REICHMAN, GREGG SETH                                                                               1224-000             $2,744.00                                        $2,744.00
11/30/2011           (INT)     M&I Bank                           INTEREST REC'D FROM BANK                                        1270-000                   $0.11                                      $2,744.11
12/31/2011           (INT)     M&I Bank                           INTEREST REC'D FROM BANK                                        1270-000                   $0.24                                      $2,744.35
01/31/2012           (INT)     M&I Bank                           Interest Rate 0.100                                             1270-000                   $0.24                                      $2,744.59
02/29/2012           (INT)     M&I Bank                           Interest Rate 0.100                                             1270-000                   $0.22                                      $2,744.81
03/31/2012           (INT)     M&I Bank                           INTEREST REC'D FROM BANK                                        1270-000                   $0.23                                      $2,745.04
04/30/2012           (INT)     M&I Bank                           Interest Rate 0.100                                             1270-000                   $0.23                                      $2,745.27
05/31/2012           (INT)     M&I Bank                           Interest Rate 0.100                                             1270-000                   $0.24                                      $2,745.51
06/12/2012           (INT)     M&I Bank                           Interest Earned For June 2012                                   1270-000                   $0.08                                      $2,745.59
06/12/2012                     Bank of Texas                      Transfer Funds                                                  9999-000                                      $2,745.59                  $0.00

                                                                                    TOTALS:                                                            $2,745.59                $2,745.59                  $0.00
                                                                                        Less: Bank transfers/CDs                                           $0.00                $2,745.59
                                                                                    Subtotal                                                           $2,745.59                    $0.00
                                                                                        Less: Payments to debtors                                          $0.00                    $0.00
                                                                                    Net                                                                $2,745.59                    $0.00



                     For the period of 8/3/2010 to 3/22/2013                                                  For the entire history of the account between 11/14/2011 to 3/22/2013

                     Total Compensable Receipts:                    $2,745.59                                 Total Compensable Receipts:                                   $2,745.59
                     Total Non-Compensable Receipts:                    $0.00                                 Total Non-Compensable Receipts:                                   $0.00
                     Total Comp/Non Comp Receipts:                  $2,745.59                                 Total Comp/Non Comp Receipts:                                 $2,745.59
                     Total Internal/Transfer Receipts:                  $0.00                                 Total Internal/Transfer Receipts:                                 $0.00


                     Total Compensable Disbursements:                   $0.00                                 Total Compensable Disbursements:                                  $0.00
                     Total Non-Compensable Disbursements:               $0.00                                 Total Non-Compensable Disbursements:                              $0.00
                     Total Comp/Non Comp Disbursements:                 $0.00                                 Total Comp/Non Comp Disbursements:                                $0.00
                     Total Internal/Transfer Disbursements:         $2,745.59                                 Total Internal/Transfer Disbursements:                        $2,745.59




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                                                                                        FORM 2
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         10-24374-YUM EPB                                                                       Trustee Name:                         Lawrence J. Warfield
Case Name:                       REICHMAN, GREGG SETH                                                                   Bank Name:                            M&I Bank
Primary Taxpayer ID #:           ******7716                                                                             Money Market Acct #:                  ******9881
Co-Debtor Taxpayer ID #:                                                                                                Account Title:                        Money Market Account
For Period Beginning:            8/3/2010                                                                               Blanket bond (per case limit):        $82,080,307.00
For Period Ending:               3/22/2013                                                                              Separate bond (if applicable):

      1                 2                                3                                     4                                              5                   6                      7

  Transaction        Check /                         Paid to/          Description of Transaction                        Uniform          Deposit           Disbursement              Balance
     Date             Ref. #                      Received From                                                         Tran Code           $                    $




                                                                                                                                                                      NET               ACCOUNT
                                                                                 TOTAL - ALL ACCOUNTS                            NET DEPOSITS                    DISBURSE              BALANCES

                                                                                                                                           $2,745.59              $1,160.89               $1,584.70




                     For the period of 8/3/2010 to 3/22/2013                                         For the entire history of the case between 08/03/2010 to 3/22/2013

                     Total Compensable Receipts:                   $2,745.59                         Total Compensable Receipts:                                 $2,745.59
                     Total Non-Compensable Receipts:                   $0.00                         Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                 $2,745.59                         Total Comp/Non Comp Receipts:                               $2,745.59
                     Total Internal/Transfer Receipts:             $2,745.59                         Total Internal/Transfer Receipts:                           $2,745.59


                     Total Compensable Disbursements:                 $33.22                         Total Compensable Disbursements:                               $33.22
                     Total Non-Compensable Disbursements:          $1,127.67                         Total Non-Compensable Disbursements:                        $1,127.67
                     Total Comp/Non Comp Disbursements:            $1,160.89                         Total Comp/Non Comp Disbursements:                          $1,160.89
                     Total Internal/Transfer Disbursements:        $2,745.59                         Total Internal/Transfer Disbursements:                      $2,745.59




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                                                                                    CLAIM ANALYSIS REPORT


  Case No.                      10-24374-YUM EPB                                                                                      Trustee Name:           Lawrence J. Warfield
  Case Name:                    REICHMAN, GREGG SETH                                                                                  Date:                   3/21/2013
  Claims Bar Date:              01/03/2011

 Claim               Creditor Name      Claim           Claim Class        Claim      Uniform     Scheduled        Claim          Amount        Amount         Interest        Tax                Net
  No.:                                      Date                          Status      Tran Code   Amount          Amount          Allowed         Paid                                       Remaining
                                                                                                                                                                                              Balance

          TERRY A DAKE                02/18/2013   Attorney for Trustee   Allowed     3210-000      $4,530.00      $4,530.00       $4,530.00          $0.00           $0.00          $0.00       $4,530.00
                                                   Fees (Other Firm)
         11811 N. TATUM BLVD.
         SUITE 3031
         PHOENIX AZ 850281621
        LAWRENCE J.                03/21/2013      Trustee Expenses       Allowed     2200-000         $0.00          $79.15          $79.15          $0.00           $0.00          $0.00         $79.15
        WARFIELD
         P.O. Box 14647
         Scottsdale AZ 85267
        LAWRENCE J.                03/21/2013      Trustee                Allowed     2100-000         $0.00         $404.48         $404.48          $0.00           $0.00          $0.00        $404.48
        WARFIELD                                   Compensation
         P.O. Box 14647
         Scottsdale AZ 85267
     1 WELLS FARGO                 08/31/2010      General Unsecured      Allowed     7100-000         $0.00    $8,718,000.00   $8,718,000.00         $0.00           $0.00          $0.00 $8,718,000.00
        CAPITAL FINANCE,                           726(a)(2)
        INC.
         ATTN: AHARON
         TARNAVSKY, VICE
         PRESIDENT
         14241 DALLAS PARKWAY,
         SUITE 1300
         DALLAS TX 75254
     2 G. JAN BEEKHUIS             10/20/2010      General Unsecured      Allowed     7100-000         $0.00     $592,720.00     $592,720.00          $0.00           $0.00          $0.00   $592,720.00
        TRUST                                      726(a)(2)
         171 ALAMO HILLS COURT
         ALAMO CA 94507
Claim Notes:    (2-1) MONEY LOANED
      3   CHASE AUTO FINANCE          10/26/2010   Real Estate -          Allowed     4110-000         $0.00      $20,764.88           $0.00          $0.00           $0.00          $0.00          $0.00
                                                   Consensual Liens
         201 N. Central Ave AZ1-1191
         Phoenix AZ 85004
Claim Notes:    (3-1) 2007 Dodge Ram 3500




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                                                                                        CLAIM ANALYSIS REPORT


  Case No.                      10-24374-YUM EPB                                                                                         Trustee Name:           Lawrence J. Warfield
  Case Name:                    REICHMAN, GREGG SETH                                                                                     Date:                   3/21/2013
  Claims Bar Date:              01/03/2011

 Claim               Creditor Name           Claim           Claim Class       Claim      Uniform     Scheduled       Claim          Amount        Amount         Interest        Tax                Net
  No.:                                       Date                             Status      Tran Code   Amount         Amount          Allowed         Paid                                       Remaining
                                                                                                                                                                                                 Balance

      4   YOUNG & SUSSER, P.C.             11/15/2010   General Unsecured     Allowed     7100-000         $0.00     $39,361.96      $39,361.96          $0.00           $0.00          $0.00    $39,361.96
                                                        726(a)(2)
         Young & Susser, P.C.
         26200 American Drive, Suite 305
         Southfield MI 48034
Claim Notes:    (4-1) services performed
      5 AMERICAN EXPRESS            12/14/2010          General Unsecured     Allowed     7100-000         $0.00      $2,500.00       $2,500.00          $0.00           $0.00          $0.00       $2,500.00
        CENTURION BANK                                  726(a)(2)
         c o Becket and Lee LLP
         POB 3001
         Malvern PA 193550701
Claim Notes:    (5-1) CREDIT CARD DEBT
      6   MAX AND CAROL                    12/16/2010   General Unsecured     Allowed     7100-000         $0.00    $100,000.00     $100,000.00          $0.00           $0.00          $0.00   $100,000.00
          KOEPER                                        726(a)(2)
          3807 N. PASEO DEL SOL
          MESA AZ 85207
      7   US BANK N.A.                     12/23/2010   General Unsecured     Allowed     7100-000         $0.00     $46,715.00      $46,715.00          $0.00           $0.00          $0.00    $46,715.00
                                                        726(a)(2)
         P.O. Box 5229
         Cincinnati OH 45201
Claim Notes:    (7-1) deficiency balance
      8   IAN S. LANSBERG, ESQ.            01/03/2011   General Unsecured     Allowed     7100-000         $0.00     $23,882.78      $23,882.78          $0.00           $0.00          $0.00    $23,882.78
                                                        726(a)(2)
         16030 VENTURA
         BOULEVARD
         SUITE 470
         ENCINO CA 91436
Claim Notes:    (8-1) Attorneys&#039; Fees
      9   GREENBANK                        01/04/2011   Tardy General         Allowed     7200-000         $0.00   $2,890,181.31   $2,890,181.31         $0.00           $0.00          $0.00 $2,890,181.31
                                                        Unsecured 726(a)(3)
         C/O TERRY POLMAN
         PO BOX 1120
         GREENVILLE TN 377441120
Claim Notes:   (9-1) LIABILITY ON PERSONAL GUARANTIES



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                                                                                  CLAIM ANALYSIS REPORT


 Case No.                      10-24374-YUM EPB                                                                                    Trustee Name:           Lawrence J. Warfield
 Case Name:                    REICHMAN, GREGG SETH                                                                                Date:                   3/21/2013
 Claims Bar Date:              01/03/2011

Claim               Creditor Name      Claim           Claim Class       Claim      Uniform     Scheduled        Claim         Amount        Amount         Interest        Tax               Net
 No.:                                   Date                            Status      Tran Code   Amount          Amount          Allowed        Paid                                       Remaining
                                                                                                                                                                                           Balance

   10   STEVE COOK                   01/04/2011   Tardy General         Allowed     7200-000         $0.00     $150,000.00     $150,000.00         $0.00           $0.00          $0.00   $150,000.00
                                                  Unsecured 726(a)(3)
         6437 E. CAON DRIVE
         PARADISE VALLEY AZ 85253
   11   INTERNAL REVENUE          01/24/2011      Claims of             Allowed     5800-000         $0.00     $248,055.74     $248,055.74         $0.00           $0.00          $0.00   $248,055.74
        SERVICE                                   Governmental Units
         4041 N. CENTRAL AVE.,
         SUITE 112
         M/S 5014 PHX
         PHOENIX AZ 850123335
                                                                                                             $12,837,195.30 $12,816,430.42         $0.00           $0.00      $0.00 $12,816,430.42




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                                                                  CLAIM ANALYSIS REPORT


Case No.                      10-24374-YUM EPB                                                                       Trustee Name:            Lawrence J. Warfield
Case Name:                    REICHMAN, GREGG SETH                                                                   Date:                    3/21/2013
Claims Bar Date:              01/03/2011


      CLAIM CLASS SUMMARY TOTALS

                                            Claim Class                Claim          Amount         Amount                   Interest                Tax                Net
                                                                       Amount         Allowed         Paid                                                           Remaining
                                                                                                                                                                       Balance


           Attorney for Trustee Fees (Other Firm)                        $4,530.00      $4,530.00            $0.00                   $0.00              $0.00             $4,530.00

           Claims of Governmental Units                                $248,055.74    $248,055.74            $0.00                   $0.00              $0.00          $248,055.74

           General Unsecured 726(a)(2)                             $9,523,179.74     $9,523,179.74           $0.00                   $0.00              $0.00         $9,523,179.74

           Real Estate - Consensual Liens                               $20,764.88          $0.00            $0.00                   $0.00              $0.00                   $0.00

           Tardy General Unsecured 726(a)(3)                       $3,040,181.31     $3,040,181.31           $0.00                   $0.00              $0.00         $3,040,181.31

           Trustee Compensation                                           $404.48         $404.48            $0.00                   $0.00              $0.00              $404.48

           Trustee Expenses                                                $79.15          $79.15            $0.00                   $0.00              $0.00                  $79.15




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                                                                                             Exhibit D
                                TRUSTEE’S PROPOSED DISTRIBUTION

Case No.:           0:10-BK-24374-EPB
Case Name:          GREGG SETH REICHMAN
Trustee Name:       Lawrence J. Warfield

                                                                Balance on hand:                   $1,584.70


         Claims of secured creditors will be paid as follows:

Claim No. Claimant                      Claim Asserted           Allowed          Interim           Proposed
                                                                Amount of      Payments to           Amount
                                                                   Claim             Date
           3 Chase Auto Finance              $20,764.88              $0.00           $0.00                $0.00


                                           Total to be paid to secured creditors:                      $0.00
                                                            Remaining balance:                     $1,584.70

         Applications for chapter 7 fees and administrative expenses have been filed as follows:

Reason/Applicant                                                    Total         Interim           Proposed
                                                                Requested      Payments to          Payment
                                                                                     Date
Lawrence J. Warfield, Trustee Fees                                $404.48            $0.00             $123.41
Lawrence J. Warfield, Trustee Expenses                              $79.15           $0.00               $79.15
TERRY A DAKE, Attorney for Trustee Fees                          $4,530.00           $0.00          $1,382.14


                          Total to be paid for chapter 7 administrative expenses:                  $1,584.70
                                                             Remaining balance:                        $0.00

         Applications for prior chapter fees and administrative expenses have been filed as follows:
NONE



                       Total to be paid to prior chapter administrative expenses:                        $0.00
                                                             Remaining balance:                          $0.00

         In addition to the expenses of administration listed above as may be allowed by the Court,
priority claims totaling $248,055.74 must be paid in advance of any dividend to general (unsecured)
creditors.

         Allowed priority claims are:




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Claim No. Claimant                                             Allowed Amt.           Interim       Proposed
                                                                    of Claim       Payments to      Payment
                                                                                         Date
          11 INTERNAL REVENUE SERVICE                            $248,055.74             $0.00          $0.00


                                                 Total to be paid to priority claims:                  $0.00
                                                                Remaining balance:                     $0.00

        The actual distribution to wage claimants included above, if any, will be the proposed payment
less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

        Timely claims of general (unsecured) creditors totaling $9,523,179.74 have been allowed and will
be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
timely allowed general (unsecured) dividend is anticipated to be 0.0 percent, plus interest (if applicable).

         Timely allowed general (unsecured) claims are as follows:

Claim No. Claimant                                             Allowed Amt.           Interim       Proposed
                                                                    of Claim       Payments to       Amount
                                                                                         Date
           1 WELLS FARGO CAPITAL FINANCE,                      $8,718,000.00             $0.00          $0.00
             INC.
           2 G. JAN BEEKHUIS TRUST                               $592,720.00             $0.00          $0.00
           4 Young & Susser, P.C.                                 $39,361.96             $0.00          $0.00
           5 American Express Centurion Bank                        $2,500.00            $0.00          $0.00
           6 MAX AND CAROL KOEPER                                $100,000.00             $0.00          $0.00
           7 US Bank N.A.                                         $46,715.00             $0.00          $0.00
           8 IAN S. LANSBERG, ESQ.                                $23,882.78             $0.00          $0.00


                                Total to be paid to timely general unsecured claims:                   $0.00
                                                                Remaining balance:                     $0.00

         Tardily filed claims of general (unsecured) creditors totaling $3,040,181.31 have been allowed
and will be paid pro rata only after all allowed administrative, priority and timely filed general
(unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent,
plus interest (if applicable).

         Tardily filed general (unsecured) claims are as follows:

Claim No. Claimant                                             Allowed Amt.           Interim       Proposed
                                                                    of Claim       Payments to       Amount
                                                                                         Date
           9 GREENBANK                                         $2,890,181.31             $0.00          $0.00




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          10 STEVE COOK                                       $150,000.00            $0.00           $0.00


                       Total to be paid to tardily filed general unsecured claims:                  $0.00
                                                              Remaining balance:                    $0.00

        Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only after all
allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).

        Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
subordinated by the Court are as follows: NONE



                                        Total to be paid for subordinated claims:                   $0.00
                                                              Remaining balance:                    $0.00




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